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Re: Thicce Boy Productions, Inc. v. Kyle Swindelles
Case No. 24-1207

Dear Clerk of Court:

On September 10, 2024, Attorney Robert E. Allen filed a letter countering the public
statements of his alleged client Brendan P. Schaub (owner and sole officer of Plaintiff-Appellant
Thicce Boy Productions, Inc.), These public remarks were provided to this Court in a prior Motion to
Dismiss. Schaub made several shocking allegations about the current action: he stated that Robert E.
Allen solicited his company to initiate litigation, convinced him to file the suit under false pretenses,
has not provided him with updates on the case, and that he has stopped paying legal fees to Allen.
Schaub speculated that Allen and a former business manager may have been “in cahoots together
just trying to get money out of me” and implied that the unscrupulous former business manager is
still pursuing the lawsuit against his wishes. This aligns with the fact that this unsuccessful lawsuit
has been damaging to Schaub’s reputation and career. Allen’s letter calls Schaub’s statements “false,
incoherent, and absurd.”

In addressing these grave allegations, the Los Angeles-based Allen did not bother to meet in-
person with the Los Angeles-based Schaub. Instead, Allen submitted an unauthenticated
“Declaration of Brendan Schaub” with a digital signature supposedly sent through DocuSign. This
declaration purports to show Schaub admitting that he was being untruthful when he claimed to have
no knowledge of this action and having nothing to do with it. It does confirm that Allen is working
directly with a “business manager" on this case. Allen declined to explain why the Plaintiff-
Appellant’s mailing address provided to the Court is to a house in Florida rather than any Thiccc
Boy business address in Colorado or California. This declaration is insufficient to support Allen’s
assertion that Schaub was lying, and dismissal of this action is still appropriate.

While DocuSign is generally admissible on documents created outside the court process,
multiple courts have held electronic signatures inadequate for sworn statements and affidavits
submitted to courts under 28 U.S.C. § 1746. See Jn re Patascsil, No. 20-02167 (Bankr. E.D. Cal.
Feb. 28, 2023); Barrows v. Brinker Rest. Corp., No. 21-606-cv (2nd Cir. May 31, 2022); In re
Mayfield, No. 16-22134-D-7 (Bankr. E.D. Cal. July 13, 2016); Kerr v. Dillard, No. 07-2604-KHV
(U.S. Dist. Kansas Feb. 17, 2009); Ruiz v. Moss Bros, , 232 Cal. App.4th 836 (2014); Clean Props. y.
Riselli, No. MICV2014-04742 (Mass. Super. Jun. 18, 2014). Allen has not provided any admissible
or authenticated documents to support his claims, only a spare DocuSign statement that could have
been signed” by anyone with access to the account, includingya disgraced “business manager.” The
lack of effort to obtain even a basic notarized statement is a thumbing of the nose to this Court’s
authority to act.
This aligns with Allen’s previous pattern of conduct. He aroused the skepticism of the
Federal Court in the Northern District of California for possible abuse of the copyright system to
attack an individual on behalf of wealthy clients in Jn re DMCA § 512(h) Subpoena to Twitter, Inc.,
3:20-me-80214 (N.D, Calif. 2020), When pressed by that court about whether the shady LLC he was
representing had ties to a private equity billionaire, Allen submitted a declaration that Judge Vince
Chhabria noted was inadmissible and not based upon personal knowledge. Here, Allen makes a
similar error, submitting an unauthenticated statement allegedly from “Brendan Schaub” refuting his
own recent public statements.

For these reasons, this Court should give weight to Brendan P. Schaub’s recorded public
statements provided to it in the previous Motion to Dismiss. Robert E. Allen has not supported his
claims that his alleged client was being untruthful, and therefore has not countered the motion in any
persuasive way. A dismissal of the current action and possible referral for investigation of
professional and/or criminal misconduct remains appropriate.

Respectfully submitted,
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